       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 1 of 35




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


COALITION FOR INDEPENDENT
TECHNOLOGY RESEARCH,

               Plaintiff,

       v.                                       Civil Action No. 1:23-cv-783

GREG ABBOTT, in his official capacity as
Governor of the State of Texas,

STEVEN C. MCCRAW, in his official
capacity as Director and Colonel of the Texas
Department of Public Safety,

AMANDA CRAWFORD, in her official
capacity as Executive Director of the Texas
Department of Information Resources and
Chief Information Officer of Texas,

DALE RICHARDSON, in his official
capacity as Chief Operations Officer of the     DECLARATION OF DR. IOANA
Texas Department of Information Resources,      LITERAT

ASHOK MAGO, LAURA WRIGHT, LINDY
RYDMAN, CARLOS MUNGUIA, MARY
DENNY, MILTON B. LEE, MELISA
DENIS, DANIEL FEEHAN, and JOHN
SCOTT JR., in their official capacities as
members of the Board of Regents of the
University of North Texas System, and

MICHAEL WILLIAMS, in his official
capacity as Chancellor of the University of
North Texas System,

               Defendants.
         Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 2 of 35




                             DECLARATION OF DR. IOANA LITERAT

I, Ioana Literat, declare:

        1.      I understand that the Coalition for Independent Technology Research, the Plaintiff

in the above-captioned matter, has moved the court for a preliminary injunction, and I am

submitting this declaration in support of its motion. I have personal knowledge of the facts set

forth herein and, if called to testify as a witness, I could do so competently under oath.

                                     Career and Background

        2.      I am Associate Professor of Communication, Media and Learning Technologies

Design at Teachers College, Columbia University. Additionally, I am also the Associate Director

of the Media and Social Change Lab, and Affiliated Faculty at the Digital Futures Institute at

Teachers College.

        3.      I received a Bachelor of Arts degree in Film and Media Culture from Middlebury

College in 2009, a Master’s degree in Communication from the University of Southern California

in 2013, and a Ph.D. in Communication from the University of Southern California in 2015. I was

appointed as an Assistant Professor of Communication, Media and Learning Technologies Design

at Teachers College, Columbia University in 2015, and was promoted to Associate Professor with

tenure in 2021.

        4.      I have published over 50 peer-reviewed articles in top journals within the field of

communication, in addition to numerous book chapters, conference proceedings and a forthcoming

book on social media and young people’s political expression. My areas of expertise are social

media and online communities, youth digital practices, online political expression, and online

creativity. Much of my recent and current work focuses on TikTok as a key site for self-expression

and socialization. See, e.g., Ioana Literat, “Teachers Act Like We’re Robots”: TikTok as a Window

Into Youth Experiences of Online Learning During COVID-19, 7 Am. Educ. Rsch. Assoc. Open


                                                  2
         Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 3 of 35




(2021), https://doi.org/10.1177/2332858421995537; Ioana Literat & Neta Kligler-Vilenchik,

TikTok as a Key Platform for Youth Political Expression: Reflecting on the Opportunities and

Stakes Involved, 9 Soc. Media & Soc’y (2023), https://doi.org/10.1177/20563051231157595;

Ioana Literat, Lillian Boxman-Shabtai & Neta Kligler-Vilenchik, Protesting the Protest

Paradigm: TikTok as a Space for Media Criticism, 28 Int’l J. Press/Pols (2022),

https://doi.org/10.1177/19401612221117481; Catherine Cheng Stahl & Ioana Literat, #GenZ on

TikTok: The Collective Online Self-portrait of the Social Media Generation, J. Youth Stud. (2022),

https://doi.org/10.1080/13676261.2022.2053671.

       5.      I was one of the first researchers to begin studying TikTok (beginning my research

on its predecessor app, musical.ly, in 2016) and have built a strong reputation as a go-to source for

academic expertise on the platform, as evidenced by my peer-reviewed publications on TikTok,

as well as my numerous media invitations and interviews detailed below.

       6.      I have shared my expertise on social media—and TikTok in particular—in over 60

media appearances and press interviews, for outlets including The New York Times, The

Washington Post, The Atlantic, CNN, BBC, Newsweek and Wired. My perspectives on TikTok

have also been sought by journalists from foreign media outlets, including in Spain, France,

Austria, Switzerland, Canada, Australia, Mexico and Romania. Additionally, I have been invited

to speak to the press on the specific topic of the TikTok ban, including most recently for The

Washington Post, NBC News, Ars Technica, and Bloomberg.

       7.      I have served as a consultant on matters related to social media and youth digital

practices for a wide range of clients, including technology companies, nonprofit organizations,

market research firms, and educational institutions.




                                                 3
         Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 4 of 35




       8.      I am a member of the International Communication Association (ICA), the

Association of Internet Researchers (AoIR), and the National Association for Media Literacy

Education (NAMLE), where I served on the Board of Directors between 2020–2022.

       9.      A copy of my curriculum vitae is attached to this declaration.

                          TikTok: Overview, Affordances, Audiences

       10.     TikTok is a popular social media platform that allows users to create and share short

videos. It has gained tremendous popularity, particularly among younger audiences, since its

launch in 2016. TikTok is known for its easy-to-use video editing tools, creative filters, and a vast

library of music and sounds that users can incorporate into their videos. The platform offers a wide

range of content categories, including humor, fashion, beauty, cooking, DIY, and more.

       11.     TikTok was created by Zhang Yiming, the founder of a Chinese technology

company called ByteDance. Initially, ByteDance launched a similar app called Douyin in

September 2016 exclusively for the Chinese market. In order to expand its reach to international

audiences, ByteDance launched a version of the app called TikTok in September 2017, which

quickly became popular in markets outside of China. TikTok’s breakthrough moment came in

2018 when it merged with another social media app called musical.ly, a lip-syncing app that had

gained considerable traction, particularly among teenagers in the United States. By merging with

musical.ly, TikTok was able to expand its user base and integrate the features and content from

both platforms, solidifying its position as a major player in the social media landscape.

       12.     In its current form, TikTok provides multiple affordances for creators, allowing

them to express their creativity, engage with a global audience, and potentially build a following.

These affordances for creators include:




                                                 4
Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 5 of 35




 a. Short-form video creation. TikTok’s primary format is that of short videos. Videos

    typically range between 15–60 seconds, with the maximum recording length

    currently being three minutes. This brevity allows creators to quickly capture the

    audience’s attention and convey their content in a concise and engaging manner. It

    encourages creativity within the constraints of a short timeframe.

 b. User-friendly video editing tools. TikTok offers a range of user-friendly video

    editing tools, effects, filters, and features that creators can use to enhance their

    videos. These tools enable creators to add text, stickers, special effects, transitions,

    and filters to make their content visually appealing and unique.

 c. Vast music and sound library. TikTok has an extensive library of licensed music,

    sound bites, and audio clips that creators can incorporate into their videos. This vast

    selection allows creators to add popular songs, trending sounds, or custom audio to

    enhance the mood or theme of their content.

 d. Discoverability through the “For You” feed. TikTok’s algorithm-driven content

    recommendation system, showcased in the “For You” feed, is a significant boon

    for creators. When a creator’s content resonates with users or aligns with their

    interests, the algorithm can amplify its reach, leading to increased visibility and

    potential growth in followers. If creators’ content catches on and gains traction, it

    can quickly spread across and beyond the platform, potentially reaching a large

    audience and boosting the creator’s visibility.

 e. Engagement with other creators and audiences. TikTok facilitates interaction with

    other users’ content via the duet and stitch features, which allow creators to

    incorporate others’ content into their own videos, respond to it, build on it, or add




                                       5
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 6 of 35




                their own twist. TikTok also provides various engagement features for creators to

                connect with their audience. Users can like, comment, and share videos, enabling

                creators to receive feedback, build a community, and foster dialogue with their

                followers. The app also offers live streaming options, enabling real-time interaction

                and Q&A sessions with viewers.

             f. Monetization opportunities. TikTok offers a Creator Fund program that allows

                eligible creators to earn money based on their video views. Additionally, creators

                can use the platform to showcase their talents, gain wider recognition, or even

                leverage their TikTok presence to secure partnerships or sponsored content

                opportunities, potentially generating income from their TikTok activity.

       13.      TikTok also offers affordances for audiences that make the platform engaging and

entertaining. These affordances for audiences include:

             a. Diverse bite-sized content. TikTok’s short-form video format makes it easy for

                audiences to consume a wide range of content quickly. Users can scroll through a

                variety of videos, spanning different topics, genres, and styles. With TikTok’s

                algorithm helping users discover content related to their specific interests,

                audiences can find communities and content focused on specific (and often quite

                niche) hobbies, interests, subcultures, and more.

             b. Personalized content discovery. TikTok’s algorithm analyzes user behavior,

                engagement, and interests to curate a personalized “For You” feed. This feed

                presents content that aligns with the user’s preferences, making it easier for

                audiences to discover and consume content that they are likely to engage with. The

                algorithm learns from user behavior and so becomes more effective over time.




                                                  6
         Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 7 of 35




             c. Interactivity and engagement. TikTok encourages active engagement from its

                audience. Users can like, comment on, and share videos, allowing for interaction

                with creators and fellow viewers. The app’s engagement features facilitate

                conversations, feedback, and community-building among users. TikTok’s content

                often showcases everyday people sharing their experiences, thoughts, and

                emotions. This relatability creates a sense of connection between creators and

                audiences, fostering a supportive and empathetic community.

             d. Global exposure and cultural diversity. As an immensely popular global platform,

                TikTok has a vast and diverse user base from around the world. Audiences can

                explore content created by individuals from different cultures, backgrounds, and

                perspectives, providing exposure to a variety of voices and fostering cross-cultural

                understanding.

       14.      TikTok is popular globally, with users from diverse backgrounds. The app’s user

base includes a broad range of individuals, including content creators, influencers, celebrities, and

everyday users seeking entertainment and creative expression.

       15.      Globally, the app boasts three billion downloads, one billion global active users,

and 50 million daily active users. It is the #1 downloaded app in more than 40 countries, available

in 150+ markets and 35+ languages. TikTok is especially popular with young people: 42% of its

global user base is aged 18–24, and 31% is aged 25–34. TikTok users spend a daily average of 1.5

hours on the app. See Stacey McLachlan, 50+ Important TikTok Stats Marketers Need to Know in

2023, Hootsuite (Apr. 13, 2023), https://perma.cc/E8DN-V8CK. In the U.S., TikTok has 150

million monthly active users, and is especially popular with young people. See David Shepardson,




                                                 7
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 8 of 35




TikTok Hits 150 Million U.S. Monthly Users, Up From 100 Million in 2020, Reuters (Mar. 20,

2023), https://perma.cc/8U56-9WEZ.

       16.     The cultural impact of TikTok extends beyond its active users. The platform has

become a hub for the latest pop culture trends, memes and viral content, which often spread beyond

TikTok to other social media platforms, online spaces, or media outlets.

                          TikTok as a Medium for Important Speech

       17.     While TikTok gained early popularity for relatively frivolous content like dance

challenges, lip-synchs and memes, the platform is now much more than that. Today, TikTok offers

a very broad range of content and enables users to find entertainment, inspiration, education, and

connection across a wide array of interests and topics.

       18.     Political expression and activism. TikTok has become a key platform for political

expression and activism. Creators and commenters use TikTok to address important topics, share

personal stories, advocate for causes, and educate others about various social, environmental and

political matters. To give just a few recent examples, TikTok has played a key role in awareness-

raising and mobilization around Black Lives Matter, reproductive justice, and environmental

issues. In particular, as I’ve shown in my research, TikTok is a valuable space for youth political

expression and activism, enabling young people to experiment with their political voice in richly

creative ways. See, e.g., Ioana Literat & Neta Kligler-Vilenchik, TikTok as a Key Platform for

Youth Political Expression: Reflecting on the Opportunities and Stakes Involved, Soc. Media &

Soc’y (2023), https://doi.org/10.1177/20563051231157595; Ioana Literat, Lillian Boxman-

Shabtai & Neta Kligler-Vilenchik, Protesting the Protest Paradigm: TikTok as a Space for Media

Criticism, 28 Int’l J. Press/Pols (2022), https://doi.org/10.1177/19401612221117481.




                                                 8
         Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 9 of 35




        19.     A significant appeal of TikTok is the way it fosters a sense of relatability among

young people, which is crucial when it comes to civic education and political socialization. In

forming their attitudes about political topics, young people care deeply about what their peers

think—and a main place where their peers are talking about politics today is TikTok. What is more,

by enabling users to connect to an assumed like-minded audience, TikTok encourages a form of

political expression that is quintessentially collective—a vital element for the success of social

movements.

        20.     Education and learning: TikTok is also frequently used for educational purposes,

with creators sharing informative and instructional content on topics such as science, history,

language learning, mental health, personal finance, and more. TikTok’s short-video format allows

users to both produce and consume educational content in an engaging and accessible way. This

educational content includes both traditional academic content (such as explaining challenging

mathematical concepts to young audiences) and non-academic educational content, like do-it-

yourself (DIY) tutorials and helpful tips (e.g., home improvement projects, cooking recipes, and

“life hacks”). Indeed, as evidence of its educational significance and reach, TikTok is used as an

educational platform not just by regular users, but also by established institutions such as

museums, health organizations, and universities.

        21.     Music, art, and creativity: TikTok’s roots lie in music, and the platform continues

to be a key space for musicians and music-loving audiences; in fact, many songs and artists have

gained popularity thanks to TikTok’s viral potential. In addition to music, TikTok is an important

hub for art and creativity more broadly. It hosts a vibrant community of artists, filmmakers,

comedians, and other creative users, and provides unique insight into the contemporary creative

sphere by allowing these artists to share not only their final creative products, but also their creative




                                                   9
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 10 of 35




process (e.g., via time-lapses, Q&As with the audience, or tutorials). Significantly, given its

popularity, TikTok also shapes aesthetic trends and even gives rise to new genres and artistic

movements.

       22.     Journalism. TikTok is increasingly being used as a platform for news consumption

and dissemination. Worldwide, 32.4% of TikTok users use the app to keep up-to-date with current

events, and in the U.S., a quarter of adults under 30 say they get their news on TikTok regularly.

See Stacey McLachlan, 50+ Important TikTok Stats Marketers Need To Know in 2023, Hootsuite

(Apr. 13, 2023), https://perma.cc/E8DN-V8CK; Emily A. Vogels, Risa Gelles-Watnick & Navid

Massarat, Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),

https://perma.cc/M87W-GTH7.

       23.      According to Reuters’ newly released 2023 Digital News Report, with traditional

news media in a state of crisis, TikTok is the fastest-growing social media platform for news. Many

established news organizations and journalists have embraced TikTok as a way to reach younger

audiences and share news in a more engaging format. Furthermore, beyond news organizations,

TikTok is a key platform for citizen journalism as well, allowing users to share real-time news and

events (e.g., protests, natural disasters, social movements, and other significant events) while

offering firsthand accounts and a diversity of angles. Additionally, given the increasing prevalence

of misinformation in both legacy media and on social media, there are also TikTok creators and

organizations dedicated to fact-checking, debunking false or misleading information, or breaking

down complex news stories for TikTok audiences. See Ioana Literat, Lillian Boxman-Shabtai &

Neta Kligler-Vilenchik, Protesting the Protest Paradigm: TikTok as a Space for Media Criticism,

28 Int’l J. Press/Pols (2022), https://doi.org/10.1177/19401612221117481.




                                                10
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 11 of 35




                For Users, TikTok Is Not Interchangeable with Other Platforms

       24.      TikTok is not fungible with other platforms—for creators or for users. Several

things differentiate it from other social media platforms, and contribute to TikTok’s unique user

experience and the specific community that has been cultivated on the app. For example:

             a. Features and functionality. TikTok’s design and technical affordances are different

                from other platforms. While other social media platforms may offer similar features

                and functionalities, the specific combination of TikTok’s affordances for creators

                and audiences (as described above), along with the unique community and content

                ecosystem on TikTok, make it distinct and not easily interchangeable with other

                platforms. Indeed, it is telling that Instagram, Facebook, and several other social

                media platforms have introduced features that try to mimic the appeal of TikTok

                (i.e., most notably, Instagram Reels or YouTube Shorts, which are both similarly

                based around short-form video), yet the majority of users continue to prefer TikTok

                and spend significantly more time there.

             b. Audience and monetization. Content creators who have established a significant

                presence on TikTok may face challenges in transitioning their audience and

                monetization opportunities to a new platform. They have often built their brand and

                following specifically on TikTok, and recreating that presence on another platform

                can be a complex and uncertain process. If content creators move to a new platform,

                it is unlikely that they would be able to migrate their audience and rebuild a similar

                level of engagement and reach on a different platform.

             c. User demographics. Content on TikTok reaches a very specific audience, in line

                with its younger, global user base. As noted above, TikTok has gained significant




                                                 11
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 12 of 35




                popularity among younger audiences, particularly teenagers and young adults. This

                demographic dominance has shaped the content and culture of the platform and

                would not simply transfer elsewhere or be found on a different platform.

             d. Algorithm. TikTok’s recommendation algorithm, which plays a significant role in

                shaping users’ experiences on the app, is also platform-specific and unlike the

                algorithms that shape engagement on other platforms. In particular, TikTok’s

                algorithm puts more emphasis on “discovery” content, which de-emphasizes

                content from accounts users follow and makes it possible for niche content to find

                a wide audience. The “For You” feed personalizes content recommendations based

                on user behavior, preferences, and interactions; this tailored approach to content

                discovery sets TikTok apart.

             e. Communities and networks. Last but not least, as a growing body of research has

                attested, TikTok is not just a platform for individual self-expression, but also for

                connections, community-building and collective expression. TikTok users organize

                themselves into particular communities—many of them quite niche and unique to

                the platform—and create networks (of varying degrees of closeness/looseness) that

                are not transferrable. These communities and networks are the lifeblood of the

                platform for many users, and are incredibly important not only for socialization but

                also for other core aspects like identity formation, activism, learning, etc.

                                     Research About TikTok

       25.      As I have explained above, TikTok is a distinctive and indeed unique platform that

now plays a very significant role in informing and shaping public discourse and culture. That the

platform is so influential, and that it is used by so many people around the world, means that




                                                  12
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 13 of 35




independent research about the platform—including about its data-collection practices, content-

moderation practices, and ranking algorithms—is not merely legitimate but absolutely necessary.

       26.    I declare under penalty of perjury that the foregoing is true and correct.



                                                  Respectfully submitted,




                                                  Ioana Literat
August 10     , 2023




                                               13
Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 14 of 35




                  EXHIBIT 1
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 15 of 35                      1

                                      IOANA LITERAT
                       525 W 120th Street, Box 19, New York, NY 10027
                           (212) 678-7409 • literat@tc.columbia.edu
                                     www.ioanaliterat.com



ACADEMIC EMPLOYMENT


Associate Professor (2021-present)
Communication, Media & Learning Technologies Design
Department of Mathematics, Science and Technology
Teachers College, Columbia University (New York, NY)

Assistant Professor (2015-2021)
Communication, Media & Learning Technologies Design
Department of Mathematics, Science and Technology
Teachers College, Columbia University (New York, NY)


EDUCATION


Ph.D. in Communication
Annenberg School for Communication and Journalism
University of Southern California (Los Angeles, CA)
2010-2015

M.A. in Communication
Annenberg School for Communication and Journalism
University of Southern California (Los Angeles, CA)
2010-2013

B.A. in Film and Media Culture
Middlebury College (Middlebury, VT)
2005-2009


RESEARCH INTERESTS


   ●   youth online participation​(youth digital practices; participation and agency; ethical
       aspects of online participation)
   ●   online political expression (creativity as political expression; youth online political
       socialization; media literacy; civic education; activism)
   ●   online creativity (Internet-based art; memes and vernacular creativity; contemporary new
       media culture)
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 16 of 35                               2



PUBLICATIONS


Peer-Reviewed Journal Articles

* = student co-authors

Abdelbagi, A.* & Literat, I. (2023). Mapping the information landscapes of Sudanese youth:
        Implications for media literacy education. International Journal of Communication 17,
        4755-4777.

Literat, I., & Kligler-Vilenchik., N (2023). TikTok as a key platform for youth political expression:
           Reflecting on the opportunities and stakes involved. Social Media + Society (Special
           issue on TikTok and activism). https://doi.org/10.1177/20563051231157595

Literat, I., Boxman-Shabtai, L., & Kligler-Vilenchik., N (2022). Protesting the protest paradigm:
           TikTok as a space for media criticism. The International Journal of Press/Politics.
           https://doi.org/10.1177/19401612221117481

Cheng-Stahl, C.* & Literat, I. (2022). #GenZ on TikTok: The collective online self-portrait of the
       social media generation. Journal of Youth Studies.
       https://doi.org/10.1080/13676261.2022.2053671

de Saint-Laurent, C., Glaveanu, V.P., & Literat, I. (2022). Mimetic representations of the
         COVID-19 pandemic: An analysis of objectification, anchoring and identification
         processes in coronavirus memes. Psychology of Popular Media. Advance online
         publication. http://dx.doi.org/10.1037/ppm0000370

Literat, I.​, & Kligler-Vilenchik, N. (2021). How popular culture prompts youth collective political
           expression and cross-cutting political talk: A social media cross-platform analysis.
           Social Media + Society.https://doi.org/10.1177/20563051211008821

Literat, I. (2021). On research and hope, in an America aflame: Sketching youth civic futures as a
           mother and a researcher. Journal of Children and Media 15(1), 109-111.

Literat, I. (2021). “Teachers act like we’re robots”: TikTok as a window into youth experiences of
           online learning during COVID-19. AERA Open 7(1).
           https://doi.org/10.1177/2332858421995537

Literat, I., Chang, Y.K., Eisman, J.*, & Gardner, J.* (2021). LAMBOOZLED!: The design and
           development of a game-based approach to news literacy education. Journal of Media
           Literacy Education, 13(1), 56-66. https://doi.org/10.23860/JMLE-2021-13-1-5.

Literat, I., Abdelbagi, A.*, Law, N.Y.L.*, Cheung, M. Y-Y.*, & Tang, R.* (2021). Likes, sarcasm and
           politics: Youth responses to a platform-initiated media literacy campaign on social
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 17 of 35                             3

         media. Harvard Kennedy School (HKS) Misinformation Review.
         https://doi.org/10.37016/mr-2020-67

Literat, I. (2021). Memes in the time of corona: An autoethnographic visual essay on memes as
           relational resources during the COVID-19 pandemic. Visual Studies
           https://doi.org/10.1080/1472586X.2021.1911678.

de Saint-Laurent, C., Glaveanu, V.P., & Literat, I. (2021). Internet memes as partial stories:
         Identifying political narratives in coronavirus memes. Social Media + Society, doi:
         10.1177/2056305121988932.

Liou, AL,* & Literat, I. (2020). “We need you to listen to us”: Youth activist perspectives on
         intergenerational dynamics and adult solidarity in youth movements. International
         Journal of Communication 14, 4662-4682.

Literat, I., & Markus, S.* (2020). ‘Crafting a way forward’: Online participation, craftivism and
           civic engagement in Ravelry’s Pussyhat Project group. Information, Communication &
           Society, 23(10), 1411-1426.

Brough, M., Literat, I., & Ikin, A. (2020). “Good social media?”: Underrepresented youth
        perspectives on the ethical and equitable design of social media platforms. Social
        Media + Society 6(2), doi: 10.1177/2056305120928488.

Literat, I., Chang, Y.K., & Hsu, S.-Y.* (2020). Gamifying fake news: Engaging youth in the
           participatory design of news literacy games. Convergence: The International Journal of
           Research into New Media Technologies 26(3), 506-516.

Chang, Y.K., Literat, I., Price, C.,* Eisman, J.,* Gardner, J.,*, Chapman, A., & Truss, A.* (2020).
        News literacy education in a polarized political climate: How games can teach youth to
        spot misinformation. Harvard Kennedy School (HKS) Misinformation Review,
        https://doi.org/10.37016/mr-2020-020.

Literat, I., & Brough, M. (2019). From ethical to equitable social media technologies: Amplifying
           underrepresented youth voices in digital technology design. Journal of Media Ethics
           34(3), 132-145.

Literat, I., & Kligler-Vilenchik, N. (2019). Youth collective political expression on social media: The
           role of affordances and memetic dimensions for voicing political views. New Media &
           Society 21(9), 1988-2009.

Literat, I., & van den Berg, S.* (2019). Buy memes low, sell memes high: Vernacular criticism and
           collective negotiations of value on Reddit’s MemeEconomy. Information,
           Communication & Society 22(2), 232-249.

Literat, I., & Kligler-Vilenchik, N. (2018). Youth online political expression in non-political spaces:
           Implications for civic education. Learning, Media & Technology 43(4), 400-417.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 18 of 35                               4


Literat, I., Kligler-Vilenchik, N., Brough, M., & Blum-Ross, A. (2018). Analyzing youth digital
           participation: Aims, actors, contexts, and intensities. The Information Society, 34(4),
           261-273.

Kligler-Vilenchik, N., & Literat, I. (2018). Distributed creativity as political expression: Youth
           responses to the 2016 U.S. Presidential Election in online affinity networks. Journal of
           Communication 68(1), 75-97.

Cybart-Persenaire, A.,* & Literat, I. (2018). Writing stories, rewriting identities: Using journalism
        education and mobile technologies to empower marginalized high school students.
        Learning, Media & Technology 43(2), 181-196.

Glaveanu, V.P., de Saint-Laurent, C., & Literat, I. (2018). Making sense of refugees online:
        Perspective taking, political imagination, and Internet memes. American Behavioral
        Scientist 62(4), 440-457.

Literat, I. (2018). Make, share, review, remix: Unpacking the impact of the Internet on
           contemporary creativity. Convergence: The International Journal of Research into New
           Media Technologies 25(5-6), 1168-1184.

Literat, I., & Glaveanu, V.P. (2018). Distributed creativity on the Internet: A theoretical framework
           for online creative participation. International Journal of Communication 12, 893-908.

Literat, I., Conover, A.*, Herbert-Wasson, E.*, Page, K.K.*, Riina-Ferrie, J.*, Stephens, R.*,
           Thanapornsangsuth S.*, & Vasudevan, L. (2017). Toward multimodal inquiry:
           Opportunities, challenges and implications of multimodality for research and
           scholarship. Higher Education Research & Development 37(3), 565-578.

Feng, Y.,* & Literat, I. (2017). Redefining relations between creators and audiences in the digital
          age: The social production and consumption of Chinese internet literature. International
          Journal of Communication 11, 2584-2604.

Li, Q.,* & Literat, I. (2017). Misuse or misdesign? Yik Yak on college campuses and the moral
           dimensions of technology design. First Monday 22(7).

Literat, I. (2017). The power of a pony: Youth literacies, participatory culture, and active
           meaning-making. Journal of Adolescent & Adult Literacy 61(1), 113-116.

Literat, I. (2017). Facilitating creative participation and collaboration in online spaces: The impact
           of social and technological factors in enabling sustainable engagement. Digital
           Creativity 28(2), 73-88.

Literat, I. (2017). Refugee selfies and the (self-)representation of disenfranchised social groups.
           Media Fields Journal 12.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 19 of 35                               5

Literat, I. (2016). Interrogating participation across disciplinary boundaries: Lessons from
           political philosophy, cultural studies, education, and art. New Media & Society 18(8),
           1787-1803.

Literat, I., & Glaveanu, V.P. (2016). Same but different? Distributed creativity in the Internet age.
           Creativity: Theory, Research, Applications 3(2), 330-342.

Literat, I. (2015). Implications of massive open online courses (MOOCs) on higher education:
           Mitigating or reifying educational inequities? Higher Education Research & Development
           34(6), 1164-1177.

Literat, I., & Balsamo, A. (2014). Stitching the future of the AIDS Quilt: The cultural work of digital
           memorials. Visual Communication Quarterly 21(3), 138-149.

Literat, I. (2014). Empowering local women through digital training programs: A sustainable
           income-generating model in Hyderabad, India. Journal of Interactive Technology and
           Pedagogy 5.

Literat, I. (2014). Measuring new media literacies: Towards the development of a comprehensive
           assessment tool. Journal of Media Literacy Education 6(1), 15-27.

Literat, I. (2013). N=1: A social scientific inquiry into happiness and academic labor. Hybrid
           Pedagogy: A Digital Journal of Learning, Teaching, and Technology.

Literat, I. (2013). Participatory innovation: The culture of contests in Popular Science Monthly,
           1918-1938. Journalism & Mass Communication Quarterly 90(4), 776-790.

Literat, I., & Chen, N.-T. ( 2013). Communication infrastructure theory and entertainment-
           education: An integrative model for health communication. Communication Theory
           24(1), 83-103.

Literat, I. (2013). A pencil for your thoughts: Participatory drawing as a visual research method
           with children and youth. International Journal of Qualitative Methods 12, 84-98.

Literat, I. (2013). Participatory mapping with urban youth: The visual elicitation of socio-spatial
           research data. Learning, Media & Technology 38(2), 198-216.

Literat, I. (2012). The work of art in the age of mediated participation: Crowdsourced art and
           collective creativity. International Journal of Communication 6, 2962-2984.

Felt, L., Vartabedian, V., Literat, I., & Mehta, R. (2012). Explore Locally, Excel Digitally: A
           participatory learning after-school program for enriching citizenship on- and
           offline. Journal of Media Literacy Education 4(3).

Literat, I. (2012) Cultural innovation and narrative synergy in R. Kelly’s Trapped in the
           Closet. Alphaville: Journal of Film and Screen Media 3.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 20 of 35                              6


Literat, I. (2012). Original democracy: A rhetorical analysis of Romanian post-revolutionary
           political discourse and the University Square Protests of June 1990. Central European
           Journal of Communication 5.1(8), 25-38.


Peer-Reviewed Conference Proceedings

Kligler-Vilenchik, N., & Literat, I. (2022). “Happy Heavenly Birthday, Beautiful Queen”:
           #JusticeForBre and the Black Lives Matter Movement on Instagram.” Association of
           Internet Researchers (AoIR) Selected Papers of Internet Research (SPIR).

Literat, I., Abdelbagi, A.*, Law, N.Y.L.*, Cheung, M. Y-Y.*, & Tang, R.* (2021). Likes, sarcasm and
           politics: Youth responses to a platform-initiated media literacy campaign on social
           media. Association of Internet Researchers (AoIR) Selected Papers of Internet Research
           (SPIR).

Literat, I., & Kligler-Vilenchik, N. (2020). Youth collective political expression as prompted by
           popular culture: A social media cross-platform analysis. Association of Internet
           Researchers (AoIR) Selected Papers of Internet Research (SPIR).

Brough, M., Literat, I., & Ikin, A. (2020). “Good social media?”: Underrepresented youth
        perspectives on the ethical and equitable design of social media platforms. Association
        of Internet Researchers (AoIR) Selected Papers of Internet Research (SPIR).

Kligler-Vilenchik, N., & Literat, I. (2017). Formative events, networked spaces, and the political
        socialization of youth. Association of Internet Researchers (AoIR) Selected Papers of
        Internet Research (SPIR).

Literat, I. (2017). Contemporary creativity online: An examination of the interplay between art and
        vernacular creativity on the Internet. Association of Internet Researchers (AoIR) Selected
        Papers of Internet Research (SPIR).

Literat, I. (2017). Tapping into the collective creativity of the crowd: The effectiveness of key
        incentives in fostering creative crowdsourcing. Proceedings of the 50th Hawaii
        International Conference on System Sciences (HICSS-50). Digital and Social Media Track.
        Kona, HI.

Edited Collections

Kligler-Vilenchik, N., & Literat, I. (2020). Youth digital participation: Opportunities, challenges,
           contexts, and what’s at stake. Special issue of Media and Communication.

Reilly, E., & Literat, I. (2012). Designing with teachers: Participatory approaches to professional
           development in education. Los Angeles, CA: Annenberg Innovation Lab.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 21 of 35                               7

Book Chapters

Literat, I. (2018). On the digital margins of art worlds: Art and vernacular creativity in online
           spaces. In P. Messaris and D. Park (Eds.) The inclusive vision: Essays in honor of Larry
           Gross. New York: Peter Lang.

Kligler-Vilenchik, N. & Literat, I. (2018). Formative events, networked spaces, and the political
           socialization of youth. In Z. Papacharissi (Ed.) The Networked Self: Birth, Life, Death.
           New York: Routledge.

Literat, I. (2012). Towards a theory of participatory professional development. In E. Reilly & I.
           Literat (Eds.), Designing with teachers: Participatory approaches to professional
           development in education. Los Angeles, CA: Annenberg Innovation Lab.

Literat, I., & Itow, R.C. (2012). Professional development in a culture of participatory learning. In
           E. Reilly & I. Literat (Eds.), Designing with teachers: Participatory approaches to
           professional development in education. Los Angeles, CA: Annenberg Innovation Lab.


Other Scholarly Output

Literat, I., Chang, Y.K., & the Media and Social Change Lab (2023, forthcoming). LAMBOOZLED!
           [Digital game].

Literat, I. (2023). /imagine [PROMPT]: A chat with @MidjourneyBot, or 10 provocations for the
           future of media literacy. White paper. Digital Futures Institute, Teachers College,
           Columbia University.

Literat, I., Chang, Y.K., & the Media and Social Change Lab (2020). LAMBOOZLED! The media
           literacy card game. New York, NY: Teachers College Press.



PEER-REVIEWED CONFERENCE PRESENTATIONS


Abdelbagi, A. & Literat, I. (2023, forthcoming). “Mapping the Information Landscapes of
        Sudanese Youth: Implications for Media Literacy Education.” International
        Communication Association (ICA) Annual Conference. Toronto, Canada.

Kligler-Vilenchik, N., & Literat, I. (2022). “Happy Heavenly Birthday, Beautiful Queen”:
           #JusticeForBre and the Black Lives Matter Movement on Instagram.” Association of
           Internet Researchers (AoIR) Annual Conference, Dublin, Ireland.

Literat, I., Boxman-Shabtai, L., & Kligler-Vilenchik., N (2022). Protesting the protest paradigm:
           Social media as a space for corrective action. International Communication Association
           (ICA) Annual Conference, Paris, France.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 22 of 35                             8

Literat, I., Abdelbagi, A., Law, N.Y.L., Cheung, M. Y-Y., & Tang, R. (2021). Likes, sarcasm and
           politics: Youth responses to a platform-initiated media literacy campaign on social
           media. Association of Internet Researchers (AoIR) Annual Conference. Virtual
           conference due to COVID-19.

Literat, I., de Saint-Laurent, C., & Glaveanu, V.P. (2021). Internet memes as partial stories:
           Identifying political narratives in coronavirus memes. International Communication
           Association (ICA) Annual Conference. Virtual conference due to COVID-19.

Literat, I. (2021). Youth portrayals of online learning on TikTok during the COVID-19 pandemic.
           International Communication Association (ICA) Annual Conference. Virtual conference
           due to COVID-19.

Literat, I. (2021). “Teachers act like we’re robots”: TikTok as a window into youth experiences of
           online learning during COVID-19. American Educational Research Association (AERA)
           Annual Conference. Virtual conference due to COVID-19.

Liou, AL, & Literat, I. (2021). “We need you to listen to us”: Youth activist perspectives on
          intergenerational dynamics and adult solidarity in youth movements. American
          Educational Research Association (AERA) Annual Conference. Virtual conference due to
          COVID-19.

Literat, I., & Abdelbagi, A. (2021). Rupture and repair in/via media literacy. Screening Scholarship
           Media Festival (SSMF). Virtual conference due to COVID-19.

Literat, I., Chang, Y.K., Abdelbagi, A., Law, N.Y.L., Cheung, M. Y-Y., & Tang, R. (2020).
           Game-based approaches to media literacy education. Northeast Media Literacy
           Conference. Virtual conference due to COVID-19.

Literat, I., & Kligler-Vilenchik, N. (2020). How popular culture prompts youth collective political
           expression and cross-cutting political talk: A social media cross-platform analysis.
           Association of Internet Researchers (AoIR) Annual Conference. Virtual conference due
           to COVID-19.

Brough, M., Literat, I., & Ikin, A. (2020). “Good social media?”: Underrepresented youth
        perspectives on the ethical and equitable design of social media platforms. Association
        of Internet Researchers (AoIR) Annual Conference. (Virtual conference due to COVID-19)

Lee, J., Azzarito, L., & Literat, I. (2020). Creating Third Space Physical Culture for, with and about
        Recent Immigrant Girls on Instagram. American Educational Research Association (AERA)
        Annual Conference. San Francisco, CA. (Conference cancelled)

Chang, Y.K., Literat, I., & Hsu, S.-Y. (2020). Engaging Youth in the Participatory Design of News
      Literacy Games: Opportunities, Challenges, Future Directions. American Educational
      Research Association (AERA) Annual Conference. San Francisco, CA. (Conference
      cancelled)
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 23 of 35                             9

Literat, I., & Price, C. (2020). Alternative Approaches to Media Literacy Education. Screening
        Scholarship Media Festival (SSMF). Philadelphia, PA. (Conference cancelled)

Literat, I., Chang, Y.K., Man, S., Truss, A., Hsu, S.-Y.. & Lei, S. (2019). Media Literacy at Play.
        National Association of Media Literacy Education (NAMLE) Conference. Washington, D.C.

Chang, Y.K., Literat, I., & Hsu, S.-Y. (2019). Research Symposium: Participatory Design. National
      Association of Media Literacy Education (NAMLE) Conference. Washington, D.C.

Literat, I., & Brough, M. (2019). Amplifying Underrepresented Youth Voices in Social Media
        Design. International Communication Association (ICA) Annual Conference. Washington,
        D.C.

Literat, I., & Kligler-Vilenchik, N. (2019). Youth Collective Political Expression on Social Media:
        The Role of Affordances and Memetic Dimensions for Voicing Political Views.
        International Communication Association (ICA) Annual Conference. Washington, D.C.

Literat, I., & Markus, S. (2019). ‘Crafting a Way Forward’: Online Participation, Craftivism and
        Civic Engagement in Ravelry’s Pussyhat Project Group. International Communication
        Association (ICA) Annual Conference. Washington, D.C.

Literat, I., Chang, Y.K., Ahn, D., Man, S., & Zhu, W. (2019). Gamifying Fake News: Playful
        Approaches to News Literacy Education for Middle School Students. American
        Educational Research Association (AERA). Toronto, Canada. Best Empirical Paper
        Award (Media, Learning & Culture SIG).

Brough, M. & Literat, I. (2018). From Ethical to Equitable Design: Amplifying Underrepresented
      Youth Voices in Digital Technology Design. Eighth Annual International Symposium on
      Digital Ethics. Chicago, IL.

Literat, I. (2018). Learning from Online Spaces: Digital Approaches to Understanding Youth
        Participation, Creativity and Agency. Society for Learning Analytics Research. Learning
        Analytics Summer Institute (LASI). New York, NY. Keynote talk.

Literat, I., & Kligler-Vilenchik, N. (2018). Educational Implications of Youth Online Political
        Expression in Non-Political Spaces. International Communication Association (ICA)
        Annual Conference. Prague, Czech Republic.

Kligler-Vilenchik, N., & Literat, I. (2018). Distributed Creativity as Political Expression: Youth
        Responses to the 2016 U.S. Presidential Election in Online Affinity Networks. International
        Communication Association (ICA) Annual Conference. Prague, Czech Republic.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 24 of 35                         10

Literat, I. & Kligler-Vilenchik, N. (2018). Civic Education 2.0: Implications of Youth Online
        Creativity for Learning and Political Socialization. American Educational Research
        Association (AERA). New York, NY.

Literat, I. (2017). Contemporary Creativity Online: An Examination of the Interplay between Art
        and Vernacular Creativity on the Internet. Association of Internet Researchers (AoIR)
        Annual Conference. Tartu, Estonia.

Kligler-Vilenchik, N., & Literat, I. (2017). Formative Events, Networked Spaces, and the Political
        Socialization of Youth. Association of Internet Researchers (AoIR) Annual Conference.
        Tartu, Estonia.

Literat, I., Kligler-Vilenchik, N., Brough, M., & Blum-Ross, A. (2017). Analyzing Youth Digital
        Participation: Aims, Actors, Contexts, and Intensities. International Communication
        Association (ICA) Annual Conference. San Diego, CA.

Literat, I., & Glaveanu, V.P. (2017). Distributed Creativity on the Internet: A Multidimensional
        Framework for Understanding Online Creative Participation. International Communication
        Association (ICA) Annual Conference. San Diego, CA.

Glaveanu, V.P., de Saint-Laurent, C., & Literat, I. (2017). Constructing Others: Building
      Representations Through Dialogues Between Perspectives. International Society of
      Political Psychology (ISPP) Annual Conference, Edinburgh, Scotland.

Literat, I., Conover, A., Herbert-Wasson, E., Page, K., Riina-Ferie, J., Stephens, R.,
        Thanapornsangsuth, S., & Vasudevan, L. (2017). Towards Multimodal Inquiry:
        Re-Orienting the Way We Work/Think/Play in Research and Scholarship. American
        Educational Research Association (AERA), San Antonio, TX.

Literat, I. (2017). Tapping into the Collective Creativity of the Crowd: The Effectiveness of Key
        Incentives in Fostering Creative Crowdsourcing. 50th Hawaii International Conference on
        System Sciences (HICSS-50). Digital and Social Media Track. Kona, HI.

Literat, I. (2016). The Concept of Participation in Education and Learning: What Can the
        Educational Field Learn from Other Domains? Global Education Conference. Online via
        Blackboard Collaborate.

Glaveanu, V.P., de Saint-Laurent, C., & Literat, I. (2016). Perspective taking and the European
      refugee crisis: Creativity and morality in a new key. Ninth International Conference on the
      Dialogical Self. Lublin, Poland.

Literat, I. (2016). An Interdisciplinary Perspective on Learning, Participation and Power.
        International Communication Association (ICA) Annual Conference. Fukuoka, Japan.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 25 of 35                           11

Literat, I. (2016). Crowdsourcing a Children’s Book about the Internet. South by Southwest
        Conference and Festival (SXSWedu). Austin, TX.

Literat, I. (2015). Crowdsourcing Educational Projects on a Global Scale: From Research to
        Practice. Global Education Conference. Online via Blackboard Collaborate.

Literat, I. (2015). The Adventures of Hashtag the Snail: Opportunities and Challenges in Creative
        Crowdsourcing. Crowdsourcing and the Academy Symposium. Berkeley, CA.

Literat, I. (2015). Interrogating Participation Across Disciplinary Boundaries: Lessons from
        Political Philosophy, Cultural Studies, and Art. International Communication Association
        (ICA) Annual Conference, San Juan, PR.

Literat, I. (2014). The Art World 2.0: Investigating the Democratizing Effect of the Internet on High
        Culture. Association of Internet Researchers (AoIR) Annual Conference. Daegu, South
        Korea.

Literat, I. (2014). Crowdsourced Art and Collective Creativity Online. USC Research
        Symposium. First Place Award, Social Sciences and Humanities Division. Los Angeles,
        CA.

Literat, I. (2014). Experiments in Creative Crowdsourcing: How and Why Do Online Communities
        Generate Creative Content? Annenberg Graduate Fellowship Research and Creative
        Project Symposium. Los Angeles, CA.

Literat, I. (2014). Crowdsourced Art: Activating Creative Publics. South by Southwest (SXSW)
        Interactive, Austin, TX.

Literat, I. (2013). Can MOOCs Really Make a Difference in the Developing World? Global
        Education Conference. Online via Blackboard Collaborate.

Literat, I. (2013). Mediated Public Spaces, Embodiment, and Virtual Communities. Hemispheric
        Institute Annual Convergence (HEMI). Los Angeles, CA.

Literat, I. (2013). Participatory Innovation: The Culture of Contests in Popular Science Monthly.
        International Communication Association (ICA) Annual Conference, London, U.K.

Literat, I. (2013). Crowdsourced Art and Collective Creativity. Annenberg Graduate Fellowship
        Research and Creative Project Symposium. Los Angeles, CA.

Reilly, E., & Literat, I. (2013). Designing with Teachers: Participatory Approaches to Professional
         Development in Education. Panel organizer. Digital Media and Learning (DML)
         Conference, Chicago, IL.

Literat, I. (2012). The Work of Art in the Age of Digital Participation: Theorizing Crowdsourced
        Art. International Communication Association (ICA) Annual Conference, Phoenix, AZ. Top
        Student Paper Award.
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 26 of 35                           12

Literat, I. (2012). Connected Viewing. Flow TV Conference, Austin, TX.

Literat, I. (2012). Visual Ways of Knowing in Social Scientific Research with Children and Youth.
        Global Education Conference. Online via Blackboard Collaborate.

Literat, I. (2012). Engaging Teachers in Professional Development: A New Framework for
        Participatory PD. Global Education Conference. Online via Blackboard Collaborate.

Felt, L., Vartabedian, V., Literat, I., and Mehta, R. (2012). Explore Locally, Excel Digitally: A
         Participatory Learning After-School Program for Enriching Citizenship On- and Offline.
         National Communication Association (NCA) Annual Conference, Orlando, FL.

Literat, I. (2012). Participatory Drawing as a Visual Research Method with Children and Youth.
        International Communication Association (ICA) Annual Conference, Phoenix, AZ.

Literat, I. (2012). The Limits of Participation: Policing Virtual Worlds? Cultural Studies Association
        Annual Conference, San Diego, CA.

Literat, I. (2011). Shifting Notions of Materiality in Future Learning Spaces. Global Education
        Conference (via Elluminate).

Literat, I. (2011). Virtual Bridges: Stimulating Intercultural Understanding and Ethnic Tolerance
        Through Virtual Interaction. Global Education Conference (via Elluminate).

Literat, I. (2011). Romanian Post-Revolutionary Political Discourse. National Communication
        Association (NCA) Annual Conference, New Orleans, LA.

Literat, I. (2011). Integrating Communication Infrastructure Theory with
        Entertainment-Education: An Ecological Solution to Common Challenges. National
        Communication Association (NCA) Annual Conference, New Orleans, LA.

Literat, I. (2011). The Rags, the Apron and the Zootsuit: The Image of African-Americans in
        Wartime Cartoons. International Communication Association (ICA) Annual Conference,
        Boston, MA.

Literat, I. (2011). Cultural Innovation and Narrative Synergy in R. Kelly’s Trapped in the
        Closet. International Communication Association (ICA) Annual Conference. Virtual
        Overlay. Boston, MA.

Literat, I. (2011). Measuring New Media Literacies; Towards the Development of a
        Comprehensive Assessment Tool. Teachers College Educational Technology Conference
        (TCETC). New York, NY.

Literat, I. (2011). The Gendered Participation Gap: Training Women in Developing Countries to
        Teach New Media Literacies. Teachers College Educational Technology Conference
        (TCETC). New York, NY.

Literat, I. (2011). Exploring the Characteristics of Participatory Learning. Digital Media and
        Learning (DML) Conference, Long Beach, CA.
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 27 of 35                      13

Literat, I. (2010). New Media Literacies: The Core Challenges of Implementation and Assessment
        in International Contexts. Global Education Conference. Online.




AWARDS AND FELLOWSHIPS


Top Paper Award (2023)
Intercultural Communication Division
International Communication Association
For the paper: Mapping the Information Landscapes of Sudanese Youth: Implications for Media
Literacy Education [co-authored with Abubakr Abdelbagi]

Faculty Collaboration Grant (2022-2023)
$20,000
Teachers College, Columbia University
For the research project: “Suspending Closure: Toward Multimodal and Arts-Based Futures in
Research and Public Scholarship”

Provost’s Investment Fund Award (2021-2022)
$20,000
Teachers College, Columbia University
For the research project: “Learning about Fake News through Online Play: The Design,
Development and Evaluation of a Digital Game for Media Literacy Education”

Early Career Award (2020)
Media, Learning & Culture Special Interest Group
American Educational Research Association (AERA)

Spencer Foundation Research Grant (2019-2021)
$49,619
Principal Investigator
For the research project: “Youth Collective Political Expression on Social Media: Communication
Within and Across Political Differences”

Provost’s Investment Fund Award (2019-2020)
$20,000
Teachers College, Columbia University
For the research project: “Fake News, Misinformation and Media Literacy in Today’s Digital Media
Ecosystem”

Richard Lounsbery Foundation Research Grant (2019-2020)
$100,000
Co-Principal Investigator
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 28 of 35                     14

For the research project: “STEAMnasiums for Teacher Learning: A Research, Development, and
Demonstration Project”

Academically Related Federal Work Study Faculty Award (2019-2020)
Teachers College, Columbia University
In support of media literacy research at the Media & Social Change Lab (MASCLab).

Best Empirical Paper (2019)
Media, Learning & Culture Special Interest Group
American Educational Research Association (AERA)
“Gamifying Fake News: Playful Approaches to News Literacy Education for Middle School
Students”

Dean's Faculty Diversity Research Award (2018-2019)
Teachers College, Columbia University
For the research project: “From Ethical to Equitable Design: Amplifying Underrepresented Youth
Voices in Digital Technology Design”

First Place (Social Sciences and Humanities) (2014)
University of Southern California Graduate Research Symposium
Awarded the top prize out of all USC graduate research projects, as determined by an
interdisciplinary panel of faculty judges

Best Romanian Student Abroad (North America) (2014)
Liga Studentilor Romani din Strainatate [League of Romanian Students Abroad]
Bestowed by the Romanian government, and awarded during a special ceremony at the
Romanian Parliament

Oxford Internet Institute Summer Doctoral Program Award (2013)
University of Oxford, UK

Research and Travel Awards (2010, 2011, 2012, 2013)
Annenberg School for Communication and Journalism, University of Southern California

GSG Conference Travel Award (2012, 2013)
University of Southern California Graduate Student Senate

HASTAC Fellowship (2012-2013)
Humanities, Arts, Science and Technology Advanced Collaboratory (HASTAC)

Phi Kappa Phi Student Recognition Award (2012)
University of Southern California
Awarded by the President of the University of Southern California for outstanding achievements
in research
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 29 of 35                         15

Top Student Paper Award (2012)
Visual Communication Division
International Communication Association

Provost’s PhD Fellowship (2010-2015)
University of Southern California
The university’s most prestigious PhD fellowship, guaranteeing 5 years of financial support

First prize, Global Health Awareness Art Competition (2012)
Institute for Global Health
University of Southern California

The Modern Story Fellowship (2009-2010)
The Modern Story, San Francisco

David Goldberg Prize (2009)
Middlebury College
Awarded by the Department of Film and Media Culture, for excellence in the study of film and
media

Phi Beta Kappa Academic Honors Award (2009)
Phi Beta Kappa Society

Davis United World College Foundation Scholarship (2005-2009)
Middlebury College
Merit-based scholarship providing full financial support for all 4 years of undergraduate study

M.M. Young Foundation Scholarship (2003-2005)
Lester B. Pearson United World College

Kwok-Leung Li Foundation Scholarship (2003-2005)
Lester B. Pearson United World College

Pro Juventute Recognition Award (2003)
Mayor’s Office, Timisoara, Romania
Awarded by the Mayor of Timisoara for outstanding academic achievements


LABS AND RESEARCH GROUPS


Media and Social Change Lab (MASClab) (2015-present)
Associate Director

Digital Futures Institute (2021-present)
Affiliated Faculty
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 30 of 35                   16


Global Citizens Club (2017-present)
Faculty Mentor

Visual Research Center (Fall 2017-2022)
Affiliated Faculty


COURSES TAUGHT AT TEACHERS COLLEGE


MSTU 4016: The History of Communication

MSTU 4028: Technology & Culture

MSTU 5102: Art in the Digital Age: Implications of New Media Technologies for Culture and
Creativity

MSTU 5199: Digital Research Methods: Qualitative Analyses of Online Data

MSTU 5606: Readings in Communication Theory and Social Thought

MSTU 6532: Seminar in CMLTD: Art, Media & Communication



DOCTORAL ADVISING


Primary advisor for:

   ●   Sonia Kim (in progress)
   ●   Shell Avenant (in progress)
   ●   Abu Abdelbagi (in progress)
   ●   Monica Meng (in progress)
   ●   Charlotte Price (in progress)
   ●   Paul Joseph Stengel (defended Spring 2020). “The Inputs, Mediators, and Outcomes of
       Collaborative MOOC Development Teams”
   ●   Candace Bratton (defended Fall 2019). “Lurking, Learning, and Leading: Educator
       Participation in Twitter Edchats”
   ●   Sandra Markus (defended Spring 2019). “Through the Eye of a Needle: Craftivism as an
       Emerging Mode of Civic Engagement and Cultural Participation”
   ●   Alena Cybart-Persenaire (defended Spring 2017). “Resurrecting Dinosaurs: How Print
       Journalism Production Using Mobile Phones Impacts Marginalized Students in a High
       School Classroom”

Secondary reader for:
        Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 31 of 35                       17

   ●   James Shanahan (in progress)
   ●   Kyle Matthew Oliver (defended Spring 2022). “Becoming Tapestry: A Multimodal
       Ethnographic Podcast Exploring Storytelling and Belonging in a Faith-Adjacent Foster
       Youth Mentoring Network”
   ●   AL Liou (defended Spring 2022). “Equals, Relatives, and Kin: Growing Intergenerational
       Solidarity between Youth Activists and their Adult Accomplices”

Chairperson / 3rd reader for:

   ●   Zsuzsanna Kozmane-Fejes (defended Fall 2022). “The History of Periodicals in Hungarian
       Secondary Mathematics Education”
   ●   Joshua Jenkins (defended Spring 2022). “Teacher Perspectives on Literacy Assessment
       in a Social Media Space”
   ●   Cristina Salazar Gallardo (defended Spring 2017). “Literacy Practices and Identity: The
       Case of the DREAMers”
   ●   Katherine Williams (defended Spring 2016). “Motivation and Technology Learning in
       Healthcare”
   ●   Zhou Zhou (defended Spring 2016). “VICTOR: Designing An Analytical Framework For
       Video-Driven Professional Education Discourse”

Outside reader for:

   ●   Mary-Andree Ardouin-Guerrier (defended Spring 2021). “Assessing the Role of
       Smartphone Applications as an Educational Tool for Increasing Knowledge and
       Awareness of Volatile Organic Compound Exposure”
   ●   YongHong McDowell (defended Spring 2021). “Undergraduate Student Misconceptions
       within Calculus Concepts”
   ●   Ashley Mask (defended Spring 2020). “Wayfinding for Novice Art Museum Educators: A
       Post-Intentional Phenomenological Exploration”
   ●   Pamela Booth (defended Spring 2019). “Behaviour Analysis Catalyst for Perspective
       Transformation and Perceptions of Interpersonal Effectiveness”
   ●   Edward Getman (defended Fall 2019). “Age, Task Characteristics, and Acoustic Indicators
       of Engagement: Investigations into the Validity of a Technology-Enhanced Speaking Test
       for Young Language Learners”
   ●   Jason Gaines (defended Spring 2018). “Music Technology and the Conservatory
       Curriculum”
   ●   Ciaran Friel (defended Spring 2018). “How Activity Monitor Use is Associated with
       Motivation and Physical Activity Behavior”
   ●   Safiyah Satterwhite (defended Fall 2017). Ground Up Leadership: An Online Course
       Designed To Aid Education Entrepreneurs In Launching New Ventures
   ●   Shawn McCann (defended Spring 2017). “Mobile Learning for Flow: Use of Mobile
       Devices to Develop Flow Traits”
   ●   Joanne Duncan-Carnesciali (defended Spring 2016). An Evaluation of the Innovation of
       E-Health Featuring a Diabetes Self-Management Program Delivered Using Avatar-Based
       Technology
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 32 of 35                  18

RELEVANT WORK EXPERIENCE


The Modern Story Digital Storytelling Program (2009-2010)
Hyderabad, India
Field Coordinator and Digital Storytelling Instructor

   • Received a fellowship to set up a digital filmmaking course in Indian public schools
   • Designed and implemented a curriculum focused on the theme of social justice, teaching
     underprivileged Indian youth to use cameras and media software to tell stories of local
     significance and share them with their communities
   • Set up collaborations with local NGOs and hired local staff to increase sustainability


SERVICE TO THE COLLEGE, PROFESSION AND COMMUNITY


Service to Teachers College

   ●   Artificial Intelligence and Pedagogy Working Group, 2023-present
   ●   Rita Gold Center Director Search Committee, 2023
   ●   CMLTD PhD Program - Proposal Lead, 2023
   ●   CMLTD Lecturer Search Committee, 2023
   ●   Center for History & Education (CHE) Dissertation Fellowship Committee, 2023
   ●   EPSA Politics & Education Faculty Search Committee, 2022-2023
   ●   Faculty Salary Committee, 2022-2023
   ●   Provost’s Advisory Council, 2020-2022
   ●   Program Adjacencies Group, Fall 2020
   ●   Faculty Advisory Committee (FAC), 2017-2021
   ●   Department of External Affairs (DEA) Faculty Liaison Committee, 2016-2021
   ●   Medalist Advisory Committee, 2019
   ●   Faculty Development Advisory Committee (FDAC), 2016-2018
   ●   21st Century Civics Roundtable series, 2017
   ●   Faculty Review Committee, Research Dissertation Fellowship Awards, 2015-2018
   ●   Faculty Review Committee, Dean’s Grants for Student Research, 2015-2018

Service to the Profession

   ●   Member, Association of Internet Researchers (AoIR) Ethics Working Group, 2016 -
       present
   ●   Program Chair of Media, Culture & Learning (MCL) Special Interest Group, American
       Educational Research Association (AERA), 2020-2022
   ●   Board Member, National Association for Media Literacy Education (NAMLE), 2019 - 2021
   ●   Editorial Board Member, Media and Communication, 2019-present
   ●   Editorial Board Member, Journal of Media Literacy Education, 2019-present
   ●   Reviewer for multiple journals (New Media & Society; International Journal of
       Communication; Information, Communication & Society; Qualitative Research; Political
       Communication; Youth & Society; Journalism & Mass Communication Quarterly; Journal
       Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 33 of 35                               19

       of Media Literacy Education; Learning, Media & Technology; Computers & Education;
       British Journal of Educational Technology; Visual Studies; Critical Arts; Digital Creativity)
       and conferences (International Communication Association, Association of Internet
       Researchers, American Educational Research Association)

Service to the Community

   ●   Advisor, Public Arena Playbook, 2023-present
   ●   Advisor, Local Civics, 2020-present
   ●   Member, Fundatia CAESAR (the Center for Accessing the Expertise of Students and
       Alumni from Romania), 2015 - present
   ●   Mentor, Blue Heron Foundation, 2012 - present
   ●   Member, DemocracyReady NY Coalition. Center for Educational Equity, Teachers
       College. Core member of Media Literacy Committee, 2018-2020
   ●   Parent Board, Red Balloon Early Childhood Center (2020-2021)

Professional Memberships

   ●   International Communication Association (ICA)
   ●   Association of Internet Researchers (AoIR)
   ●   American Educational Research Association (AERA)
   ●   National Association for Media Literacy Education (NAMLE)



SELECTED MEDIA COVERAGE


   ●   “TikTok—banned or not, it’s probably here to stay, an Ars Frontiers 2023 recap” Ars
       Technica (May 2023)
   ●   “How anonymous social media apps like Yik Yak can empower racist trolls” PBS
       NewsHour (April 2023)
   ●   “This dissident uses Chinese-owned TikTok to criticize China’s government” The
       Washington Post (March 2023)
   ●   “TikTok ban would be ‘a slap in the face’ to young Democratic voters, activists warn”
       NBC News (March 2023)
   ●   “Inside TikTok’s Fight to Avoid a US Ban” Bloomberg (March 2023)
   ●   “Ban TikTok? Yes, But Congress Needs to Explain Why” Bloomberg Opinion (March
       2023)
   ●   “At Ticketmaster Hearing, Taylor Swift Lyrics Were the Headliner” The New York Times
       (January 2023)
   ●   “‘I-told-you-so moment’: Young voter advocates urge parties to take them seriously after
       midterms” USA Today (November 2022)
   ●   “Activists call for civility in abortion debate” ABC News Live Prime (November 2022)
   ●   "Speaking the language of TikTok: Politicians court young voters by using Gen Z humor
       online" USA Today (July 2022)
   ●   "What are abortion code words even for?" The Atlantic (July 2022)
   ●   “TikTok 'frog army' stunt could have grave consequences, experts warn” The Guardian
       (July 2022)
   ●   “Could John Fetterman shitpost his way to the Senate?” The Daily Beast (July 2022)
    Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 34 of 35                     20

●   “Gen Z activists are influencing the abortion debate on TikTok” The Washington Post
    (June 2022)
●   “Alexandra Hunt is on OnlyFans and running for Congress” Business Insider (May 2022)
●   "Securing the TikTok vote" The New York Times (March 2022)
●   "Ukraine fights back on TikTok, where war is fought with memes and misinformation"
    NBC News (March 2022)
●   "Dans la guerre des images en Ukraine, avantage Zelensky [In the war of images in
    Ukraine, Zelensky has the advantage]" Le Temps, Switzerland (March 2022)
●   “Wilkommen im WarTok [Welcome to WarTok]” Falter, Austria (March 2022)
●   “Astroworld disaster fuels wave of satanic conspiracy theories on TikTok” The Guardian
    (November 2021)
●   “What Colleges Should Know About the New Yik Yak” The Chronicle of Higher Education
    (August 2021)
●   “Savvy TikTok campaigns give NDP an edge with Gen Z voters” The Toronto Star,
    Canada (August 2021)
●   “Forget Critical Race Theory in the Classroom. Kids Are Learning About Race on TikTok”
    EdSurge (July 2021)
●   “TikTok’s Next Big Gen Z Trend Might Be Viral Protests” Newsweek (July 2021)
●   “Apply liberally: the TikTok teens fighting political battles with makeup” The Guardian
    (March 2021)
●   “The Nonstandard Project: Breaking Standards in Youth Activism” Ms. Magazine
    (February 2021)
●   “How to Talk About Social Media and the Capitol Insurrection: A Guide for Teachers”
    Education Week (January 2021)
●   “Faima lui Cumpănașu pe TikTok e doar o parte din poveste” [Cumpanasu’s fame on
    TikTok is just one part of the story]. DoR Concentrat, Romania (January 2021)
●   "John King and Steve Kornacki: TikTok is swooning over a new kind of celebrity: election
    analysts" CNN (November 2020)
●   “'Politics on TikTok is anything but boring': Here's how Gen Z TikTokers are already
    influencing the election” CNN (November 2020)
●   “Could TikTok be the thing that finally gets young voters to the polls?” mic.com (October
    2020)
●   “The TikTok Teens Trying to Meme the Vote” WIRED (October 2020)
●   “Trumped-up anxiety? On TikTok, Americans tell Canadians: ‘Please, invade us’” Toronto
    Star, Canada (October 2020)
●   “How to Declutter your Digital Life”. The New York Times (September 2020).
●   “Das mächtige Netzwerk” [The Mighty Network]. Die Zeit, Germany (August 2020).
●   “Why You Can’t Look Away From TikTok” OneZero (August 2020).
●   “Minnesota lawmaker scours TikTok for young voters” The Star Tribune (August 2020)
●   “Should TikTok Be Banned?” Al Jazeera. Video interview for Start Here (August 2020).
●   “‘Tiktokers’ y ‘kpopers’ se adentran en la arena política” [TikTok Users and K-Pop Fans
    Enter the Political Arena], El Pais, Spain (July 2020).
●   “Anul TikTok” [The Year of TikTok]. DoR Concentrat, Romania (July 2020).
●   “TikTok Is Shaping Politics. But How?” Interview in The New York Times (June 2020). Also
    reprinted in Forbes India.
●   “El COVID no existe: entendiendo la propagación de rumores” [COVID Doesn’t Exist:
    Understanding the Spread of Misinformation], Animal Político, Mexico (June 2020)
    Case 1:23-cv-00783-DII Document 20-4 Filed 09/07/23 Page 35 of 35                    21

●   “A Call for New York State to Dramatically Improve Media Literacy Education” TC
    Newsroom (June 2020)
●   “Three Borders, One War, & Generation TikTok” VICE News. Also aired on VICE on
    Showtime (May 2020)
●   “How Coronavirus is Finally Fulfilling the Internet’s Promise” VICE News (April 2020)
●   “Reality Check: Using Media Literacy to Push Back on Fake News” TC Newsroom (April
    2020)
●   “Ruminate on This: A game to help young news consumers avoid getting…
    LAMBOOZLED!” TC Newsroom (April 2020)
●   “N.Y. Creates ‘Containment Zone’ Limiting Large Gatherings in New Rochelle”. The New
    York Times (March 2020)
●   “How a ban on pro-Trump patterns unraveled the online knitting world” MIT Technology
    Review (March 2020)
●   “OP-ED: Youth of color and young women use social media the most, so why are most
    digital technology developers white men?” The Hechinger Report (January 2020)
●   “Beyond silly videos: Why TikTok matters” The Christian Science Monitor (January 2020)
●   “Is TikTok a Looming Political Disaster?” mic.com (November 2019)
●   “OP-ED: Unraveling the Politics of Knitting” TC Newsroom (September 2019)
●   “Catching up with the post-Google generations” TC Newsroom (May 2019)
●   “A Medium to Support the Message” TC Newsroom (May 2019)
●   “Civically Engaged, in Their Own Spaces” TC Newsroom (January 2019)
●   “Unconventional Wisdom: The New Civics” Teachers College Magazine (Spring 2017)
●   “Crowdsourcing Through the Ages” Popular Science (February 2014)
